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  TIRZAH EL.BEY,                                                                   sEP   I   I2017

                     Plaintiff,                                                   U.S, COURT OF
                                                                                 FEDERALOIAIMS
             v.                                   No. t7-i20G
                                                  Filed: Sepbmber 18, 2017
  UNITED STATES,
                     Ilefendant
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                                        ORDER
       The court is in receipt of pro se plaintiffs complaint. Plaintiff submitted the
complaint to the court without paying the $400.00 filing fee or submitting an application to
proceed in forma oauperis. As a result of this failure, the above-captioned case is
DISMISSED, without prejudice.

       IT IS SO ORDERED.


                                                      ]SARIAN BLANK HO
                                                                Judge




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